      Case 3:19-cr-00009-MEM Document 143 Filed 11/19/21 Page 1 of 3


                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA             :
                                                Criminal No. 3-CR-19-09
     v.                               :
                                                  (JUDGE MANNION)
BRUCE EVANS, SR. and                 :
BRUCE EVANS, JR.,
                                     :
              Defendants


                                 ORDER

     On November 9, 2021, David Klepadlo filed a motion to quash the

subpoena to testify at the trial served on him by defendant Bruce Evans, Sr.

based on his 5th Amendment privilege. (Doc. 132). The defendant opposes

Klepadlo’s motion.

     A person such as Klepadlo claiming a privilege against self-

incrimination under the 5th Amendment “must be confronted by substantial

and real, and not merely trifling or imaginary, hazards of incrimination.”

United States v. Doe, 465 U.S. 605, 614 n. 13, 104 S.Ct. 1237, 79 L.Ed.2d

552 (1984).

     As such, the court will direct Klepadlo to appear in court and it will

conduct a colloquy of him outside of the jury’s presence. See U.S. v.

Longstreet, 567 F.3d 911, 922 (7th Cir. 2009) (“[W]hen a witness invokes his



                                     1
       Case 3:19-cr-00009-MEM Document 143 Filed 11/19/21 Page 2 of 3


Fifth Amendment right, the district court should confirm that he ‘cannot

possibly incriminate himself,’ and if the ‘witness’s testimony may make him

vulnerable to prosecution, the trial court may allow him to ... refuse to

testify.’”). See also U.S. v. Maybrok, 301 F.3d 503, 506 (7th Cir. 2002).

      “Whether an individual may properly invoke the privilege against self-

incrimination is a question of law, ….” United States v. Rivas-Macias, 537

F.3d 1271, 1278 (10th Cir. 2008). The district court should have witness

testify outside the presence of the jury to determine whether he can properly

invoke the 5th Amendment. See U.S. v. Sapp, 721 Fed.Appx. 698, 699 (9th

Cir. 2018) (“Generally, a Fifth Amendment claim must be raised in response

to specific questions and a witness should not be allowed to assert a blanket

claim of Fifth Amendment privilege.”).

      Evans Sr.’s defense counsel who subpoenaed Klepadlo will be allowed

to present the witness with the questions he would ask him during the trial,

outside the presence of the jury, and Klepadlo’s attorney will be allowed to

inform the court if Klepadlo will exercise his right against self-incrimination

under the Fifth Amendment and if he will refuse to answer the questions. The

court will then determine if any of the questions call for potentially

incriminating responses. “[I]t is well established that a criminal defendant

may not call a witness if that witness ... will merely be invoking his Fifth

Amendment right not to testify.” Sapp, 721 Fed.Appx. at 699 (internal


                                      2
             Case 3:19-cr-00009-MEM Document 143 Filed 11/19/21 Page 3 of 3


quotations and citations omitted). Klepadlo will not be entitled to assert his

5th Amendment privilege if it is “‘perfectly clear, from a careful consideration

of all the circumstances in the case,’ that [he] ‘is mistaken’ and his answers

could not ‘possibly have’ a ‘tendency to incriminate.’” Rivas-Macias, 537

F.3d at 1279 (quoting Hoffman, 341 U.S. at 488, 71 S.Ct. 814).



            ACCORDINGLY, IT IS HEREBY ORDERED:


            1.   David Klepadlo is directed to appear in person before this court
                 on December 1, 2021, at 9:00 A.M., or thereafter as directed by
                 the court, pursuant to the trial subpoena served on him by
                 defendant Bruce Evans, Sr.

            2.   Prior to being called as a witness, counsel for Bruce Evans, Sr.

                 will present his proposed trial questions for Klepadlo and the

                 court will determine if any responses to the questions would tend

                 to incriminate Klepadlo and whether the witness will be allowed

                 to assert his 5th Amendment privilege and refuse to answer any

                 questions.



                                            s/ Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge


Date: November 19, 2021
19-009-10




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